Case 8:19-mc-00005-AG-DFM Document 3 Filed 09/12/18 Page 1 of 2 Page ID #:7



                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA

IN RE BANC OF CALIFORNIA                       Case No. ______________
SECURITIES LITIGATION


                                               CASE NO. SACV 17-00118 AG (DFMx)
                                               consolidated with
                                               SACV 17-00138 AG (DFMx)
                                               Pending in the Central District of California




                       DECLARATION OF ANDREW GRAY

      I, Andrew R. Gray, declare as follows:

      1.     I am an attorney licensed to practice law in the State of California. I am a

partner at the law firm of Latham & Watkins LLP, counsel for Defendant Steven

Sugarman (“Sugarman”). I submit this declaration in support of Sugarman’s Motion to

Compel Compliance with Subpoenas. I have personal knowledge of the matters stated

herein and would testify competently about them if called upon to do so

      2.     On behalf of Mr. Sugarman, my law firm served Subpoenas to Produce

Documents on Castalian Partners Value Fund LP and James Gibson (collectively,

“Respondents”) on July 17, 2018.

      3.     Attached as Exhibit 1 is a true and correct copy of the Subpoena to

Produce Documents, Information, or Objects or to Permit Inspection of Premises in a

Civil Action served on Respondent Castalian Partners Value Fund LP on July 17, 2018.
Case 8:19-mc-00005-AG-DFM Document 3 Filed 09/12/18 Page 2 of 2 Page ID #:8



        4.       Attached as Exhibit 2 is a true and correct copy of the Subpoena to

Produce Documents, Information, or Objects or to Permit Inspection of Premises in a

Civil Action served on Respondent James Gibson on July 17, 2018.

        I declare under penalty of perjury under the laws of the United States that the

foregoing is true and correct.

Dated: September 12, 2018
                                                   Andrew R. Gray




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